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    8                        UNITED STATES DISTRICT COURT
    9                      SOUTHERN DISTRICT OF CALIFORNIA
   10     IN RE: PACKAGED SEAFOOD                   )   Case No. 15-MD-2670 JLS (MDD)
   11     PRODUCTS ANTITRUST                        )
          LITIGATION                                )   ORDER GRANTING MOTION
   12                                               )   TO WITHDRAW APPEARANCE
          This document relates to the End Payer    )   OF COUNSEL
   13     Actions                                   )
                                                    )   (ECF No. 2451)
   14
              Presently before the Court is a Motion to Withdraw Appearance of Counsel
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        (ECF No. 2451, “Motion to Withdraw.”) Michael S. Christian and Jiangxiao Athena
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        Hou, formerly of the law firm Zelle LLP, seek to withdraw as counsel for End Payer
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        Plaintiffs Scott Caldwell, Michael Juetten, and Carla Lown. Those Plaintiffs will
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        continue to be represented by other Zelle LLP counsel who have appeared in this
   19
        action.
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              Accordingly, pursuant to Civil Local Rule 83.3(f), the Motion to Withdraw is
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        GRANTED. The Clerk of Court will update the docket to reflect the withdrawal of
   22
        Michael S. Christian and Jiangxiao Athena Hou, and remove their names from the
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        CM/ECF electronic service list.
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              IT IS SO ORDERED.
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   26   Dated: January 11, 2021
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